Case 2:17-cv-04142-VAP-AFM Document 19-1 Filed 10/26/17 Page 1 of 4 Page ID #:87




                             EXHIBIT A
Case 2:17-cv-04142-VAP-AFM Document 19-1 Filed 10/26/17 Page 2 of 4 Page ID #:88



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    8                           UNITED STATES DISTRICT COURT
    9                         CENTRAL DISTRICT OF CALIFORNIA
   10
        VERRAGIO, LTD.,                         CASE NO. 2:17-cv-04142-VAP-AFM
   11
                       Plaintiff,               FINAL JUDGMENT AND
   12                                           PERMANENT INJUNCTION
               v.
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        NINA ELLE JEWELS,
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                       Defendants.
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        FINAL JUDGMNT.01                       1
                           FINAL JUDGMENT AND PERMANENT INJUNCTION
Case 2:17-cv-04142-VAP-AFM Document 19-1 Filed 10/26/17 Page 3 of 4 Page ID #:89



    1          Plaintiff VERRAGIO, LTD. (“Verragio”) and Defendant NINA ELLE, INC.
    2 doing business as NINA ELLE JEWELS (“Defendant”), having stipulated to a Final

    3 Judgment and Permanent Injunction, and having waived any required findings of

    4 fact and/or conclusions of law, and having further waived any additional notice, and

    5 having stipulated and agreed that this Permanent Injunction may be entered

    6 forthwith;

    7          IT IS ORDERED, ADJUDGED AND DECREED:
    8          1.       Verragio is awarded $30,000 against Defendant, an amount which
    9 includes Verragio’s attorney’s fees.

   10          2.       Defendant    and   Defendant’s    officers,   directors,     employees,
   11 representatives, agents, successors-in-interest, parent corporations, subsidiary

   12 corporations, legal entities or persons controlled by Defendant, and all other persons

   13 who are in active concert or participation with them (“Enjoined Parties”), are hereby

   14 permanently enjoined from:

   15                   a.     Copying or making unauthorized use of, or engaging in any
   16          unauthorized distribution of products protected by the              copyrights to
   17          Verragio’s jewelry designs with Style No.s INS 7001, INS-7062CU and
   18          PAR-3077CU, which have been registered by the United States Copyright
   19          Office respectively with Registration No.s VAu 996-693, VA 1-818-617 and
   20          VA 1-818-326 (collectively “the Verragio Copyrights”) or rings that are
   21          substantially similar to the Verragio Copyrights;
   22                   b.     Copying or making unauthorized use of, or engaging in any
   23          unauthorized distribution of products protected by the trademark in the
   24          Verragio Crest which is the subject of the United States Registration No.
   25          4,336434 or rings that are confusingly similar to those with the Verragio
   26          Crest;
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        FINAL JUDGMNT.01                         2
                             FINAL JUDGMENT AND PERMANENT INJUNCTION
Case 2:17-cv-04142-VAP-AFM Document 19-1 Filed 10/26/17 Page 4 of 4 Page ID #:90



    1                  c.     Selling, distributing, advertising, manufacturing or purchasing
    2          any rings that Defendant identified with Style No.s R225 and ANR300 or any
    3          rings substantially similar to those rings(collectively, the “NEJ Rings”); and
    4                  d.     Knowingly assisting, aiding or abetting any other person or
    5          business entity in engaging in or performing any of the activities referred to in
    6          subparagraphs 2(a) through 2(c) above.
    7          3.      Within thirty days of the date of this Order, Defendant shall destroy all
    8 of the NEJ Rings in its possession, if any.

    9          4.      The parties waive notice of entry of this Final Judgment and Permanent
   10 Injunction and the right to appeal therefrom or to test its validity and consent to its

   11 immediate entry in accordance with its terms.             This Court expressly retains
   12 jurisdiction over this matter to enforce, implement or construe this Final Judgment

   13 and Permanent Injunction.

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               SO ORDERED.
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   18   DATED: __________________                       _____________________________
   19                                                       United States District Judge
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        FINAL JUDGMNT.01                        3
                            FINAL JUDGMENT AND PERMANENT INJUNCTION
